 Case: 4:24-cv-01001-PLC      Doc. #: 4       Filed: 08/19/24   Page: 1 of 4 PageID #: 16
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  Case: 4:24-cv-01001-PLC       Doc. #: 4    Filed: 08/19/24       Page: 3 of 4 PageID #: 18

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